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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Abide Brands, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  508 Lake Cove Pointe Circle
                                  Winter Garden, FL 34787
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Abide Brands, Inc.                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Abide Brands, Inc.                                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Abide Brands, Inc.                                                          Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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 Fill in this information to identify the case:
 Debtor name Abide Brands, Inc.
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                          Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Amex                                                Credit Card                                                                                                 $12,636.31
 Correspondence/Ba
 nkruptcy
 Po Box 981540
 El Paso, TX 79998
 CapitalX                                            Promissory Note                                                                                           $100,000.00
 PO Box 3217,
 Seattle, WA 98114
 Seattle, WA 98114
 Chase                                               Credit Card                                                                                                   $4,144.80
 PO Box 15123
 Wilmington, DE
 19850
 Cole Schrimsher                                     Promissory Note                                                                                             $50,000.00
 PO Box 547775
 Orlando, FL 32854
 Darrell Carpenter                                   Promissory Note                                                                                           $100,000.00
 2216 Mallard Circle
 Winter Park, FL
 32789
 Diane Schneider                                     Promissory Note                                                                                           $100,000.00
 5112 Isleworth
 Country Club Dr
 Windermere, FL
 34787
 Inet Innovation, Inc.                               Promissory Note                                                                                         $1,500,000.00
 9780 Soaring Hawk
 Circle
 Zionsville, IN 46077
 Jared Schneider                                                                                                                                                       $60.00
 508 Lake Cove
 Pointe Circle
 Winter Garden, FL
 34787




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 Debtor    Abide Brands, Inc.                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Jeremey Ryckman                                     Promissory Note                                                                                             $50,000.00
 280 S. Ronald
 Reagan Blvd #200
 Longwood, FL
 32750
 Jeremy Sainlar                                      Promissory Note                                                                                           $500,000.00
 502 Macchi Ave
 Oakland, FL 34787
 Jeremy Sainlar                                      Promissory Note                                                                                           $100,000.00
 502 Macchi Ave
 Oakland, FL 34787
 Mana Syndicate                                      Promissory Note                                                                                             $96,260.00
 PO Box 3217
 Seattle, WA 98114
 Mana Ventures                                       Promissory Note                                                                                             $15,000.00
 PO Box 3217,
 Seattle, WA 98114
 Seattle, WA 98114
 Mana Ventures                                       Promissory Note                                                                                             $15,000.00
 PO Box 3217,
 Seattle, WA 98114
 Seattle, WA 98114
 Mana Ventures                                       Promissory Note                                                                                           $476,675.00
 Syndicate
 PO Box 3217
 Seattle, WA 98114
 Search Creatively,                                  Promissory Note                                                                                           $150,000.00
 LLC
 1632 Sterling Lake
 Drive
 Wake Forest, NC
 27587
 Southwest Chase                                     Credit card                                                                                                         $0.00
 P.O. Box 15299
 Wilmington, DE
 19850
 Stephen & Carly                                     Promissory Note                                                                                           $100,000.00
 Bowles
 2317 Reading Drive
 Orlando, FL 32804




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            Abide Brands, Inc. - - Pg. 1 of 1

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Abide Brands, Inc.                              Jared Schneider                         Mana Ventures
508 Lake Cove Pointe Circle                     508 Lake Cove Pointe Circle             PO Box 3217, Seattle, WA 98114
Winter Garden, FL 34787                         Winter Garden, FL 34787                 Seattle, WA 98114




Daniel A. Velasquez                             Jared Schneider                         Mana Ventures Syndicate
Latham Luna Eden & Beaudine LLP                 508 Lake Cove Pointe Circle             PO Box 3217
201 S. Orange Avenue                            Winter Garden, FL 34787                 Seattle, WA 98114
Suite 1400
Orlando, FL 32801

Amex                                            Jared Schneider                         Search Creatively, LLC
Correspondence/Bankruptcy                       508 Lake Cove Pointe Circle             1632 Sterling Lake Drive
Po Box 981540                                   Winter Garden, FL 34787                 Wake Forest, NC 27587
El Paso, TX 79998



CapitalX                                        Jared Schneider                         Southwest Chase
PO Box 3217, Seattle, WA 98114                  508 Lake Cove Pointe Circle             P.O. Box 15299
Seattle, WA 98114                               Winter Garden, FL 34787                 Wilmington, DE 19850




Chase                                           Jeremey Ryckman                         Stephen & Carly Bowles
PO Box 15123                                    280 S. Ronald Reagan Blvd #200          2317 Reading Drive
Wilmington, DE 19850                            Longwood, FL 32750                      Orlando, FL 32804




Cole Schrimsher                                 Jeremy Sainlar
PO Box 547775                                   502 Macchi Ave
Orlando, FL 32854                               Oakland, FL 34787




Darrell Carpenter                               Jeremy Sainlar
2216 Mallard Circle                             502 Macchi Ave
Winter Park, FL 32789                           Oakland, FL 34787




Diane Schneider                                 Mana Syndicate
5112 Isleworth Country Club Dr                  PO Box 3217
Windermere, FL 34787                            Seattle, WA 98114




Inet Innovation, Inc.                           Mana Ventures
9780 Soaring Hawk Circle                        PO Box 3217, Seattle, WA 98114
Zionsville, IN 46077                            Seattle, WA 98114
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